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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                              :     CASE NO. 3:17CR83 (RNC)
                                                      :
               v.                                     :
                                                      :
PETER YURYEVICH LEVASHOV, aka                         :     February 14, 2018
     “Petr Levashov,” “Peter Severa,”                 :
     “Petr Severa,” and “Sergey Astakhov”             :


                     CONSENT MOTION TO CONTINUE HEARING

       The government respectfully moves to continue the continued Curcio hearing scheduled

for today, February 14, 2018, at 2 p.m. While the parties wish to have the Curcio issue resolved

as expeditiously, a brief continuance is warranted because the procedural posture of the Curcio

issue involving Attorney Litvak has not changed since yesterday’s hearing. The parties

anticipate that the procedural posture will be clarified with the requested continuance. In

addition, Attorney Litvak is not otherwise available for this afternoon’s hearing. Attorney

Litvak consents to the granting of this motion.




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       WHEREFORE, the parties respectfully move for a brief continuance of today’s continued

Curcio hearing.


                                          Respectfully submitted,

                                          JOHN H. DURHAM
                                          UNITED STATES ATTORNEY


                                          _____________/s/______________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2018, a copy of the foregoing CONSENT MOTION
TO CONTINUE HEARING was filed electronically and served by mail on anyone unable to
accept electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of
the Court’s electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.


                                              ________/s/_________________
                                              DAVID T. HUANG
                                              ASSISTANT U.S. ATTORNEY




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